










NO. 07-08-0212-CV

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL B

FEBRUARY 11, 2009

______________________________


MARCO AVILA D/B/A AVILA CONSTRUCTION
AND MANAGEMENT, APPELLANT

v.

DAVID RODRIGUEZ AND TERESA RODRIGUEZ, APPELLEES

_________________________________

FROM THE 181ST DISTRICT COURT OF RANDALL COUNTY;

NO. 59,059-B; HON. JOHN B. BOARD, PRESIDING

_______________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, Marco Avila, filed his notice of appeal on May 15, 2008, appealing a
judgment signed on April 16, 2008.  The clerk’s record in this matter was filed on June 18,
2008, and the reporter’s record was filed on September 19, 2008.  Therefore, Avila’s brief
was due on October 20.  After this court notified Avila, by letter on October 21, that his brief
was overdue, Avila filed his first motion for an extension on November 7 which was
granted.  This court extended the time to file his brief and gave Avila until November 19 to
submit his brief.  On November 19, Avila filed a second motion for extension to file his
brief.  In response, this court granted Avila’s motion until December 24; however, the court
also notified Avila that the court does not grant requests for subsequent extensions absent
good cause.  On December 30, Avila filed a third motion for extension of time to file his
brief.  This court denied Avila’s third motion for extension and notified Avila that his brief
was due on or before January 16, 2009.  Further, this court notified Avila that failure to
comply with the extended deadline to file his brief may result in dismissal of the appeal. 
See Tex. R. App. P. 38.8(a)(1), 42.3(b) and (c).  No other correspondence has been
received from Avila.&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Not having received Avila’s appellate brief in a timely manner, we dismiss Avila’s
appeal.  Tex. R. App. P. 42.3. 


Mackey K. Hancock

Justice


